                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í17)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2017). Since that time, 372 additional action(s) have been
transferred to the Northern District of Ohio. With the consent of that court, all such actions have
been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:


           Mar 28, 2018
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                               MDL No. 2804



                 SCHEDULE CTOí17 í TAGíALONG ACTIONS



 DIST     DIV.      C.A.NO.    CASE CAPTION


ALABAMA NORTHERN

  ALN      1        18í00398   City of Anniston Alabama v. Purdue Pharma L P et al
                               Limestone County, Alabama v. Purdue Pharma L.P. et
  ALN      5        18í00396   al

CALIFORNIA NORTHERN

  CAN      1        18í01566   Yurok Tribe v. Purdue Pharma L.P. et al

FLORIDA NORTHERN

                               CITY OF PENSACOLA v. AMERISOURCEBERGEN
  FLN      3        18í00417   DRUG CORPORATION et al

FLORIDA SOUTHERN

  FLS      0        18í60535   Broward County, Florida v. Purdue Pharma L.P. et al

ILLINOIS NORTHERN

                               City of Rockford, an Illinois Municipal Corporation v.
  ILN      3        18í50092   AmerisourceBergen Drug Corporation et al
                               People Of The State Of Illinois et al v.
  ILN      3        18í50093   AmerisourceBergen Drug Corporation et al

LOUISIANA EASTERN

                               St. Bernard Parish Government v. Purdue Pharma L.P.
  LAE      2        18í02717   et al Opposed 3/20/18

LOUISIANA MIDDLE

 LAM       3        18í00286   Gautreaux v. Purdue Pharma L.P. et al

NORTH CAROLINA EASTERN

  NCE      4        18í00049
                               Halifax County v. AmerisourceBergen Drug
                               Corporation et al

NORTH CAROLINA MIDDLE

                               ORANGE COUNTY v. AMERISOURCEBERGEN
 NCM       1        18í00192   DRUG CORPORATION et al

OHIO SOUTHERN

                               Athens County Board of Commissioners v.
  OHS      2        18í00216   AmerisourceBergen Drug Corporation et al

OKLAHOMA WESTERN

                               Ponca Tribe of Indians of Oklahoma v. Purdue Pharma
 OKW       5        18í00221   LP et al

WEST VIRGINIA SOUTHERN

                               The Calhoun County Commission, West Virginia v.
 WVS       2        18í00407   Amerisourcebergen Drug Corporation, et al
                               The Braxton County Commission, West Virginia v.
 WVS       2        18í00419   Cardinal Health, Inc. et al
                               The Nicholas County Commission v.
 WVS       2        18í00421   AmerisourceBergen Drug Corporation et al
                               The City of Parkersburg, West Virginia v.
 WVS       2        18í00423   AmerisourceBergen Drug Corporation et al
                               The City of Summersville v. AmerisourceBergen Drug
 WVS       2        18í00431   Corporation et al
                               The City of Logan v. AmerisourceBergen Drug
 WVS       2        18í00434   Corporation et al
                               The Town of Sutton, West Virginia v. Cardinal Health,
 WVS       2        18í00440   Inc., et al
                               The City of Smithers, West Virginia v.
 WVS       2        18í00441   AmerisourceBergen Drug Corporation et al
                               The Town of Granville, West Virginia v.
 WVS       2        18í00443   AmerisourceBergen Drug Corporation et al
                               The City of Milton, West Virginia v.
 WVS       3        18í00435   AmerisourceBergen Drug Corporation et al
                               The Town of Rainelle, West Virginia v.
 WVS       5        18í00425   AmerisourceBergen Drug Corporation
                               The Town of Rupert, West Virginia v.
 WVS       5        18í00426   AmerisourceBergen Drug Corporation et al
                               The Town of Quinwood, West Virginia v.
 WVS       5        18í00427   AmerisourceBergen Drug Corporation

WISCONSIN EASTERN

                               Milwaukee County Wisconsin v. Amerisourcebergen
  WIE      2        18í00403   Drug Corporation et al
